          Case 2:24-cv-01768-BWA-KWR           Document 6-1         Filed 07/17/24      Page 1 of 1




    IN THE SUPREME COURT OF THE STATE OF WASHINGTON

                                                           )
      IN THE MATTER OF THE ADMISSION                       )                    BAR NO. 53856
                                                           )
                           OF                              )                    CERTIFICATE
                                                           )
                   DAVID B. OWENS                          )                           OF
                                                           )
TO PRACTICE IN THE COURTS OF THIS STATE                    )                  GOOD STANDING
                                                           )
____________________________________________



          I, Sarah R. Pendleton, Deputy Clerk of the Supreme Court of the State of Washington, hereby
certify


                                           DAVID B. OWENS

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and all the

Courts of the State of Washington on August 10, 2018, and is now and has continuously since that date

been an attorney in good standing, and has a current status of active.



                                                       IN TESTIMONY WHEREOF, I have
                                                       hereunto set my hand and affixed
                                                       the seal of this Court on the 6th day of
                                                       June, 2024.



                                                       Sarah R. Pendleton
                                                       Supreme Court Deputy Clerk
                                                       Washington State Supreme Court
